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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                         )
    In re                                                )   Chapter 11
                                                         )
    WESTWIND MANOR RESORT                                )   Case No. 19-50026 (DRJ)
    ASSOCIATION, INC., et al.,1                          )
                                                         )   Jointly Administered
                                       Debtors.
                                                         )

              NOTICE OF FIRST AMENDMENT TO THE PLAN SUPPLEMENT
                   FOR THE DEBTORS’ AND COMMITTEE’S FIRST
                   AMENDED JOINT PLAN OF REORGANIZATION


                                          TABLE OF CONTENTS

      Exhibit           Description                                                          Plan Ref.

      C                 Excluded Parties – Ex. A to Disclosure Statement                     1.02(81)


        Certain documents, or portions thereof, contained in this Plan Supplement 2 remain subject
to continuing negotiations among the Debtors and other interested parties with respect thereto. The
Debtors reserve all rights to amend, revise, or supplement the Plan Supplement, and any of the
documents and designations contained herein, at any time before the Plan Effective Date, or any
such other date in accordance with the Plan, the Confirmation Order or any other order of the
Bankruptcy Court.




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Westwind Manor Resort Association, Inc. (7533); Warrior ATV Golf, LLC (3420); Warrior Acquisitions, LLC
(9919); Warrior Golf Development, LLC (5741); Warrior Golf Management, LLC (7882); Warrior Golf Assets, LLC
(1639); Warrior Golf Venture, LLC (7752); Warrior Premium Properties, LLC (0220); Warrior Golf, LLC, a Delaware
limited liability company (4207); Warrior Custom Golf, Inc. (2941); Warrior Golf Equities, LLC (9803); Warrior Golf
Capital, LLC (5713); Warrior Golf Resources, LLC (6619); Warrior Golf Legends, LLC (3099); Warrior Golf
Holdings, LLC (2892); and Warrior Capital Management, LLC (8233). The address of the Debtors’ corporate
headquarters is 15 Mason, Suite A, Irvine, California 92618.
2
  Capitalized terms used but not otherwise defined in this Plan Supplement shall have the meanings ascribed to such
terms in the Debtors’ and Committee’s First Amended Joint Plan of Reorganization [Docket No. 787], as it may be
amended, modified, or supplemented from time to time.



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Dated: June 11, 2020                   /s/ Michael D. Warner
                                      Michael D. Warner, Esq. (TX Bar No. 00792304)
                                      COLE SCHOTZ, P.C.
                                      301 Commerce Street, Suite 1700
                                      Fort Worth, Texas 76102
                                      Telephone: (817) 810-5250
                                      Facsimile: (817) 810-5255
                                      mwarner@coleschotz.com

                                      Counsel for the Debtors




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                     EXHIBIT C
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                                                     EXHIBIT “A”

                                     (ADDITIONAL) EXCLUDED PARTIES1

The following is a non-exclusive list of the Excluded Parties, as such term is defined in the Plan.

The Excluded Parties are subject to claims for, inter alia, Causes of Action and Avoidance Actions, as
defined in the Plan.

With respect to Persons identified herein, Excluded Parties includes, inter alia: (i) any entity directly or
indirectly owned or controlled by such Person, and (ii) any current or former spouse, partner, or any other
relative of any such Person.

With respect to Entities identified herein, Excluded Parties includes all past and present, shareholders,
members, partners, general partners, limited partners, officers, directors, employees, professionals,
affiliates, subsidiaries, and successors of any such Entity.

1)         Brendan M. Flaherty
2)         Dillon Flaherty
3)         Devin Flaherty
4)         Destiny Flaherty
5)         Toni Flaherty
6)         Dwight Bickerstaff
7)         Aaron Mun
8)         Wayne Deloney
9)         Ryan Rodney
10)        Trevor Tam
11)        Katie Sanchez
12)        Henry Peter Wheelhan, Jr.
13)        Tom Porter
14)        R.E. Alexander
15)        Eric Taylor
16)        Howard Farber
17)        Russell Theisen
18)        Sean McDonald
19)        John Fitzmartin
20)        Douglas White
21)        Daniel Davis
22)        Sandra Davis
23)        Thomas Dean
24)        Bonnie Dean
25)        Brenda Severson
26)        Walter Curtis Hunt
27)        Leon Engelking


1
    Capitalized terms used herein are as defined in the Plan to which this Exhibit A is attached.

                                                             1
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28)      Elvira Engelking
29)      Rick Falaschetti
30)      Stephen Thomas
31)      [RESERVED]
32)      Jessie Miller
33)      [RESERVED]
34)      Dwight Beckstrand
35)      Anthony Ivankovich
36)      A and O Family Trust
37)      A and O Family LLC
38)      Zavatkay Holdings, LLC
39)      WGP Related Persons
40)      Dot Com Asset Management, Ltd.
41)      BMF Properties, LLC
42)      Sterling and Marx, Inc.
43)      Wholesale Golf Supply & Services, Inc.
44)      Sports Collectables International, Inc.
45)      Warrior Table Soccer, LLC
46)      Warrior Extreme Sports, LLC
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48)      Warrior Golf, LLC, a California limited liability company
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50)      IRA Resources, Inc.
51)      Equity Trust Company
52)      ColeyDocter, Inc.
53)      Runaway Bay Golf Club, LLC
54)      Alpha Adventure Ranch at Nocona, LLC
55)      City of Boonville, Indiana
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57)      Stepp Law Corporation
58)      Morgan Lewis & Bockius LLP
59)      Wunderlich Securities, Inc.
60)      Marcum LLP
61)      Beckstrand Law Offices, P.C.
62)      Warrior Custom Storage RV, LP
63)      Riverbound Storage Management, LLC
64)      John Combs
65)      Laura Vannessen
66)      Kimberly Porter
67)      TMA 17, Inc.
68)      Any and all Persons or Entities that, in any fashion, participated in, inter alia, the marketing, sale,
         solicitation of Investments or the Convertible Notes




                                                       2
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69)        Any and all Persons or Entities that, in any fashion participated in, inter alia, provided advice,
           guidance, legal or financial consultation, with respect to the marketing, sale, solicitation of
           Investments, or the Convertible Notes


70)        Any and all Persons or Entities that, in any fashion participated in, inter alia, provided advice,
           guidance, legal or financial consultation, with respect to, inter alia, the transactions, events and
           documents involved in the Failed 2017 Restructuring, including, the Senior Notes and the Pro Rata
           Notes
71)        Any and all Persons and Entities that were Investors in Warrior Capital Management, LLC
72)        Any and all Person and Entities that received a transfer of property of the Debtors, within the
           applicable statutes of limitations for avoidable transfers pursuant to, inter alia, Bankruptcy Code
           Sections 506(c), 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, 552(b), 553, and/or 724
73)        Any and all Persons and Entities that participated, in any fashion, in the transactions identified in
           the Disclosure Statement or the Plan as being subject to potential investigation, recovery or
           litigation
74)        Any and all Persons or Entities that, in any fashion, participated in, inter alia, what are defined in
           the Disclosure Statement as the internal flips, wherein, property was acquired by an entity and
           subsequently transferred or intended to be transferred to a Debtor
75)        Any and all Persons or Entities that, in any fashion, received, causes to be transferred, or otherwise
           participated in, inter alia, property transfers by the Debtors as inducements or incentives to cause
           Investments
76)        Any and all Persons or Entities that, in any fashion participated in, inter alia, provided advice,
           guidance, legal or financial consultation, with respect to, inter alia, the transactions, events and
           documents involved in the Debtors efforts to, and considerations of going public

Specifically, not Excluded Parties are:2

       A) Professionals retained by the Debtors, in connection with the Chapter 11 Cases
       B) Professionals retained by the Committee, in connection with the Chapter 11 Cases
       C) The CRO
       D) The CFO
       E) Persons and Entities specifically identified in the Plan as being released or exculpated.




2
    The following list is not exhaustive.

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                          EXHIBIT C
                           (Redline)
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                                                     EXHIBIT “A”

                                     (ADDITIONAL) EXCLUDED PARTIES1

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24)        Bonnie Dean
25)        Brenda Severson
26)        Walter Curtis Hunt
27)        Leon Engelking


1
    Capitalized terms used herein are as defined in the Plan to which this Exhibit A is attached.

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28)      Elvira Engelking
29)      Rick Falaschetti
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